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 6

 7
                            UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10                                                     Case No.:     '22CV0643 L   WVG
11
       JORDAN MOI,                                     COMPLAINT FOR DAMAGES
12                                                     FOR (1) VIOLATIONS OF THE
                        Plaintiff,                     ROSENTHAL FAIR DEBT
13                                                     COLLECTION PRACTICES ACT
             vs.                                       (CAL. CIV. CODE §§ 1788-1778.32);
14                                                     AND (2) VIOLATIONS OF THE
                                                       TELEPHONE CONSUMER
15     DISCOVER BANK,                                  PROTECTION ACT (47 U.S.C.
                                                       §227)
16                   Defendant,
17
                                                       JURY TRIAL DEMANDED
18

19

20                              COMPLAINT FOR DAMAGES
21                                      INTRODUCTION
22 1. JORDAN MOI (hereinafter referred to as “Plaintiff”), by and through his Counsel

23       of record, brings this action against DISCOVER BANK (hereinafter referred to as
24       “Discover” or “Defendant”), pertaining to actions by Defendant to unlawfully
25       collect a debt allegedly owed by Plaintiff, including but not limited to, collection
26       via the use of an Automated Telephone Dialing System (“ATDS”) and/or
27       Artificial Voice and/or Prerecorded Voice in violation of the Telephone Consumer
28       Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), and the Rosenthal Fair Debt
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 1          Collection Practices Act (“RFDCPA” [Cal. Civ. C. §§ 1788-1788.32]), thereby
 2          invading Plaintiff’s privacy, and causing Plaintiff damages.
 3 2. The California legislature determined that unfair or deceptive collection practices

 4          undermine the public confidence which is essential to the continued functioning of
 5          the banking and credit system. The legislature further determined there is a need
 6          to ensure that debt collectors and debtors exercise their responsibilities to one
 7          another with fairness, honesty, and due regard for the rights of others. The
 8          legislature’s explicit purpose of enacting the Rosenthal Fair Debt Collection
 9          Practices Act of California (hereinafter “RFDCPA”) was to prohibit debt
10          collectors from engaging in unfair or deceptive acts or practices in the collection
11          of consumer debts and to require debtors to act fairly in entering into and honoring
12          such debts. 1 Cal. Civ. Code § 1877.17 incorporates the FDCPA into the
13          RFDCPA, by stating that every debt collector collecting or attempting to collect a
14          consumer debt shall comply with the provisions of the Federal Fair Debt
15          Collection Practices Act, sections 1692b to 1692j, inclusive, of, and shall be
16          subject to the remedies in Section 1692k of, Title 15 of the United States Code.
17 3. The Telephone Consumer Protections Act (hereinafter referred to as “the TCPA”)

18          was designed to prevent calls like the ones described within this complaint, and to
19          protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints
20          about abuses of telephone technology – for example, computerized calls
21          dispatched to private homes – prompted Congress to pass the TCPA.” Mims v.
22          Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
23 4. In enacting the TCPA, Congress specifically found that “the evidence presented to

24          Congress indicates that automated or prerecorded calls are a nuisance and an
25          invasion of privacy, regardless of the type of call . . .” Id. at §§ 12-13. See also,
26          Mims, 132 S. Ct., at 744.
27

28
      1
          CA Civil Code §§ 1788.1(a)-(b)
                                                         -2-
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 1 5. As Judge Easterbrook of the Seventh Circuit explained in a TCPA case regarding

 2       calls similar to this one:
 3

 4             The Telephone Consumer Protection Act … is well known for its provisions
               limiting junk-fax transmissions. A less-litigated part of the Act curtails the
 5             use of automated dialers and prerecorded messages to cell phones, whose
 6             subscribers often are billed by the minute as soon as the call is answered—
               and routing a call to voicemail counts as answering the call. An automated
 7             call to a landline phone can be an annoyance; an automated call to a cell
 8             phone adds expense to annoyance.
 9             Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012)
10

11 6. Plaintiff makes the allegations contained herein on information and belief, except

12       as to those allegations regarding himself, which are made and based upon personal
13       knowledge.
14

15                                JURISDICTION AND VENUE
16 7. This action is based on Defendant’s violations of the RFDCPA found in California

17       Civil Code §§ 1788 - 1788.32; and the TCPA found in Title 47 of the United
18       States Code Section 227, et seq..
19 8. This Court has jurisdiction over Defendant, pursuant to 28 U.S.C. § 1331, as the

20       unlawful practices alleged herein involve a federal question under the TCPA.
21 9. The unlawful practices alleged herein occurred in California, in the County of San

22       Diego and violated California’s Civil Code §§ 1788 - 1788.32.
23 10.This Court further has supplemental jurisdiction over Plaintiff’s California Causes

24       of action, pursuant to 28 U.S.C. § 1367(a), as Plaintiff’s California state law
25       claims are so related to Plaintiff’s Federal TCPA claims in this action, that they
26       form part of the same case or controversy.
27 11.Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1)-(2), because all

28       or some of the unlawful practices and violations of law alleged herein occurred
                                                 -3-
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 1       and are occurring in the County of San Diego, California. Furthermore,
 2       Defendant regularly conducts business within State of California, County of San
 3       Diego, and Plaintiff resides in San Diego County, California.
 4

 5                                           PARTIES
 6 12. Plaintiff is, and was at all times mentioned herein, a natural person residing in

 7       the County of San Diego, in the State of California.
 8 13. Plaintiff is a natural person from whom a debt collector sought to collect a

 9       consumer debt which was due and owing or alleged to be due and owing from
10       Plaintiff, and therefore Plaintiff is a “debtor” as that term is describe by Cal Civ.
11       Code §1788.2(h).
12 14. Defendant Discover is a National Banking Association. Defendant operates as a

13       bank, which provides product and services including saving accounts, loans,
14       mortgages, investment fund, credit and debit cards, insurance, electronic
15       banking, capital markets and advisory, and private banking. Defendant serves
16       customers worldwide, throughout the State of California, including this District.
17       Defendant regularly conducts business in this District, via online banking
18       accessibility. Defendant’s corporate headquarters is located at: 2500 Lake Cook
19       Road, Riverwoods, IL 60015.
20 15. Defendant Discover regularly attempts to collect through the use of mails,

21       electronic communication, and telephone, “consumer debts” allegedly owed to it,
22       as that term is defined by Cal. Civ. Code §1788.2(f).
23 16. When individuals owe Defendant Discover debts for regular monthly payments

24       on consumer loans and credit cards, and other similar obligations, Defendant
25       Discover collects on those consumer debts owed to it through the mail, electronic
26       communication, and telephone. Therefore, Defendant Discover is a “debt
27       collector” as that term is defined by Cal. Civ. Code §1788.2(c), and engages in
28       “debt collection” as that term is defined by Cal. Civ. Code §1788.2(b).
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 1     17. Defendant is, and all times mentioned herein, was a corporation and “person,” as
 2        defined by 47 U.S.C. § 153(39).
 3     18. When individuals owe Discover debts for regular monthly payments on
 4        consumer loans and credit cards, and other similar obligations, Discover collects
 5        on those consumer debts owed to them through the use of the mail, electronic
 6        communication, and the telephone. Therefore, Discover is a “debt collector” as
 7        that term is defined by Cal. Civ. Code §1788.2(c), and engages in “debt
 8        collection” as that term is defined by Cal. Civ. Code §1788.2(b).
 9     19. Cal. Civ. Code § 1877.17 states that every debt collector collecting or attempting
10        to collect a consumer debt shall comply with the provisions of the Federal Fair
11        Debt Collection Practices Act, sections 1692b to 1692j, inclusive, of, and shall
12        be subject to the remedies in Section 1692k of, Title 15 of the United States
13        Code.
14     20. At all times relevant hereto, Defendant used, controlled and or operated an
15        “automatic telephone dialing system” (“ATDS”) as that term is defined by 47
16        U.S.C. § 227(a)(1) and/or placed calls to Plaintiff’s cellular telephone using an
17        automated or prerecorded voice (“Recorded Voice”) as that term is defined in 47
18        U.S.C. § 227(b)(1)(A).
19     21. Defendant is, and all times mentioned herein, was a corporation and “person,” as
20        that term is defined by 47 U.S.C. § 153(39).
21     22. This case involves money, property, or their equivalent, due or owing or alleged
22        to be due or owing from a natural person by reason of a “consumer credit
23        transaction.” Thus, this action arises out of a “consumer debt” and “consumer
24        credit” as those terms are defined by Cal. Civ. Code §1788.2(f).
25

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 1                                 GENERAL ALLEGATIONS
 2 23. Plaintiff realleges and incorporates by reference all preceding paragraphs,

 3       inclusive, as if fully set forth herein.
 4 24. Prior to 2020, Plaintiff was issued a Credit Card by Defendant Discover. The

 5       aforementioned credit card account was issued, serviced, and collected upon by
 6       Defendant Discover.
 7 25. Plaintiff made payments toward his Discover credit card account when he took it

 8       out, and maintained good standing until 2021, when unfortunately, Plaintiff fell
 9       on financial hardship and was unable to maintain the regular monthly payments.
10 26. Upon going into default on his Discover credit card account, agents for Discover

11       called Plaintiff multiple times and requested payment through the use of an
12       ATDS and/or a Recorded Voice, often 2-3 times per day, almost every single
13       day.
14 27. The aforementioned collection calls were made to Plaintiff’s cellular telephone.

15 28. Plaintiff sought out and retained an attorney to represent him with regards to the

16        debts allegedly owed to Discover.
17 29. On December 8, 2021, an associate attorney at BLC Law Center, APC drafted

18        and mailed a Cease-and-Desist letter, whereby Plaintiff’s Attorney stated in
19        writing that Plaintiff was revoking consent to call him via the use of an ATDS,
20        that Plaintiff had retained Counsel, and that Discover needed to cease calling
21        Plaintiff pursuant to the RFDCPA (“Letter”). Said Letter referenced the last four
22        digits of Plaintiff’s social security number next to his name in order to help
23        Discover identify the Plaintiff’s account.
24 30. Said Letter clearly informed Discover that Plaintiff was represented by Counsel,

25        thus said Letter constituted written notice pursuant to Cal. Civ. Code §§
26        1788.14(c) that Plaintiff was represented by an attorney with respect to any debt
27        allegedly owed to or serviced by Defendant, and request was thereby made that
28        all communications regarding this alleged consumer debt must be directed
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 1         exclusively to Plaintiff’s attorney, and said Letter clearly revoked any prior
 2         consent to contact Plaintiff via the use of an automated dialing system phone,
 3         text, or other method, including but not limited to calls with a pre-recorded or
 4         automated voice messages.
 5 31. Despite Defendant receiving receipt of the Plaintiff’s Attorney’s Letter dated

 6         December 8, 2021, Defendant continued to willfully call Plaintiff’s cellular
 7         telephone and request payments through the use of an ATDS and/or a Recorded
 8         Voice, often 2-3 times per day, almost every single day
 9     32. However, despite receipt of the December 8, 2021 Letter referenced above, as
10         well as multiple oral notices via Plaintiff that Plaintiff had revoked consent to be
11         called via an ATDS and had retained counsel regarding the subject debt,
12         representatives of Discover have continued to call Plaintiff in excess of one-
13         hundred (100) times since December 8, 2021 on his cellular telephone via the use
14         of and ATDS and/or Pre-Recorded Voice message.
15     33. Defendant has called Plaintiff over one-hundred (100) times in total, after receipt
16         in writing and orally of notice that Plaintiff revoked any prior consent to call
17         Plaintiff via the use of an ATDS and/or Recorded Voice, had retained Counsel
18         for any debts owed to Discover, and after providing an explicit warning that all
19         direct contact with Plaintiff should cease pursuant to the RFDCPA.
20     34. Further, Plaintiff spoke to agents for Discover on more than one occasion and
21         stated that they should not be calling him on his cellular telephone and reiterated
22         that he had retained Counsel who had sent Cease and Desist Letters to Discover.
23     35. In said telephone calls, Plaintiff orally revoked any alleged prior consent to call
24         Plaintiff via the use of an ATDS and/or Recorded voice. Despite said oral
25         revocation, agents for the Defendant continued to call Plaintiff using an ATDS
26         and/or Recorded Voice
27     36. Despite having received Plaintiff’s December 8, 2021, Letter sent to Defendant’s
28         address for correspondences, Discover continues to call Plaintiff to date, often
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 1       multiple times per day in rapid succession, which is indicative of a computerized
 2       ATDS.
 3 37. Discover, or its agents or representatives, have contacted Plaintiff on his cellular

 4       telephone over one-hundred (100) since December 8, 2021, including through the
 5       use of an ATDS and/or Recorded voice as those terms are defined in 47 U.S.C. §
 6       227(a)(1) and/or 47 U.S.C. § 227(b)(1)(A).
 7 38. Many of the Defendant’s calls to Plaintiff after receiving the letter contained an

 8       “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
 9 39. The multiple calls made by Defendant or its agents after December 8, 2021 were
10       therefore made in violation of 47 U.S.C. § 227(b)(1).
11 40. Despite receipt of Plaintiff’s Attorney’s Letter sent to Defendant’s mailing

12       address, and verbal notice from Plaintiff to cease calling Plaintiff’s cellular
13       telephone via the use of an ATDS and/or Recorded Voice, all of which provided
14       irrefutable notice that Plaintiff had revoked consent to call his cellular telephone
15       by any means and that he had retained Counsel regarding these alleged debts,
16       Defendant Discover continues to contact Plaintiff repeatedly to date.
17

18                                     CAUSES OF ACTION
19                                                  I.
20                                 FIRST CAUSE OF ACTION
21          Violations of California Rosenthal Fair Debt Collection Practices Act
22                             (California Civil Code § 1788.14(c))
23 41. Plaintiff realleges and incorporates by reference all preceding paragraphs,

24       inclusive, as if fully set forth herein.
25 42. When Plaintiff’s Counsel sent the December 8, 2021 cease-and-desist letter to

26       Discover, Defendant Discover was aware, or reasonably should have been aware,
27       that Plaintiff was represented by an attorney.
28 43. When Plaintiff orally stated to representatives for Discover that he was

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 1        represented by Counsel, Discover was aware, or reasonably should have been
 2        aware, that Plaintiff was represented by an attorney, and that Plaintiff was
 3        exerting his rights not to be contacted directly regarding the subject debt owed to
 4        and/or serviced by Discover.
 5     44. Cal. Civ. Code §1788.14(c) provides in relevant part,
 6             No debt collector shall collect or attempt to collect a consumer debt
               by means of the following practices:
 7
               (c) Initiating communications, other than statements of account,
 8             with the debtor with regard to the consumer debt, when the debt
               collector has been previously notified in writing by the debtor's
 9             attorney that the debtor is represented by such attorney with respect
               to the consumer debt and such notice includes the attorney's name
10             and address and a request by such attorney that all communications
               regarding the consumer debt be addressed to such attorney, unless
11             the attorney fails to answer correspondence, return telephone calls,
               or discuss the obligation in question. This subdivision shall not
12             apply where prior approval has been obtained from the debtor's
               attorney, or where the communication is a response in the ordinary
13             course of business to a debtor's inquiry.
14     45. By calling Plaintiff on his cellular phone over one-hundred (100) times after
15        receipt of the December 8, 2021 Letter from Plaintiff’s Counsel, Discover
16        violated Cal. Civ. Code §1788.14(c).
17     46. As a result of the constant collection calls by Discover, Plaintiff has experienced
18        anxiety, irritability, and has at times been unable to calm down as the constant
19        and harassing collection calls by Discover are overwhelming. Therefore,
20        Plaintiff has suffered emotional distress as a result of Defendant’s violations of
21        Cal. Civ. Code §1788.14(c).
22     47. Further, as stated previous, Cal. Civ. C. § 1788.17 incorporates the FDCPA into
23        the Rosenthal Fair Debt Collection Practices Act, therefore if an individual
24        violated 15 U.S.C. § 1692(d), they in turn violate the RFDCPA.
25 48. 15 U.S.C. § 1692d(5) provides in pertinent part,

26             A debt collector may not engage in any conduct the natural
               consequence of which is to harass, oppress, or abuse any person in
27             connection with the collection of a debt. Without limiting the
               general application of the foregoing, the following conduct is a
28             violation of this section:
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 1           (5)Causing a telephone to ring or engaging any person in telephone
             conversation repeatedly or continuously with intent to annoy,
 2           abuse, or harass any person at the called number
 3 49. Therefore, Defendant’s acts of calling Plaintiff over one-hundred (100) times was

 4     a separate violation of 15 U.S.C. § 1692d(5), which is incoporated into the
 5     RFDCPA via Cal. Civ. C. § 1788.17.
 6

 7                                                 II.
 8                              SECOND CAUSE OF ACTION
 9                             Negligent Violations of the TCPA
10                                    (47 U.S.C. § 227 Et. Seq.)
11 50. Plaintiff realleges and incorporates by reference all preceding paragraphs,

12      inclusive, as if fully set forth herein.
13 51. Through the December 8, 2021 Letter sent by Plaintiff’s Counsel, and orally,

14      Plaintiff revoked any alleged consent for Discover or its agents or representatives
15      to call Plaintiff on his cellular telephone via the use of an ATDS and/or Recorded
16      Voice.
17 52. The foregoing acts and omissions of Discover constitutes numerous and multiple

18      negligent violations of the TCPA, including but not limited to each one of the
19      above-cited provisions of 47 U.S.C. § 227, et. seq.
20 53. As a result of Discover’s negligent violations of 47 U.S.C. §227, et. seq.,

21      Plaintiff is entitled to an award of $500 in statutory damages, for each and every
22      violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
23 54. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

24      the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
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 1                                             III.
 2                               THIRD CAUSE OF ACTION
                        Knowing and/or Willful Violations of the TCPA
 3
                                     (47 U.S.C. § 227 Et. Seq.)
 4   55. Plaintiff realleges and incorporates by reference all preceding paragraphs,
 5       inclusive, as if fully set forth herein.
 6   56. Through the December 8, 2021 Letter sent by Plaintiff’s Counsel to Discover’s
 7       corporate headquarters, and oral notice from Plaintiff, Plaintiff revoked any
 8       alleged consent for the Discover or its agents or representatives to call Plaintiff
 9       on his cellular telephone via the use of an ATDS and/or Recorded Voice.
10   57. The foregoing acts of the Discover constitute numerous and multiple knowing
11       and/or willful violations of the TCPA, including but not limited to each and
12       every one of the above-cited provisions of 47 U.S.C. § 227, et. seq.
13   58. Therefore, since Discover or its agents or representatives continued to call
14       Plaintiff despite indisputably being informed not to call Plaintiff on multiple
15       occasions through multiple different means, and that Plaintiff had revoked any
16       alleged prior consent to call Plaintiff’s cellular telephone via the use of an ATDS
17       and/or Recorded Voice, Discover’s acts were willful.
18   59. As a result of Discover’s knowing and/or willful violations of 47 U.S.C. §227, et.
19       seq., the Plaintiff is entitled to an award of $1,500 in statutory damages for each
20       one of Discover’s over one-hundred (100) knowing and/or willful violations of
21       the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(C).
22   60. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
23       the future, pursuant to 47 U.S.C. § 227(b)(3)(A).
24

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 1                                 PRAYER FOR RELIEF
 2        WHEREFORE, Plaintiff having set forth the claims for relief against
 3 Defendant Discover herein, respectfully request this Court enter a Judgment

 4 against Defendant as follows:

 5 a. As to the First Cause of Action, an award of actual damages pursuant to Cal. Civ.

 6     Code §1788.30(a) according to proof.
 7 b. As to the First Cause of Action, an award of statutory damages of $1,000.00

 8     pursuant to Cal. Civ. Code §1788.30(b).
 9 c. As to the First Cause of Action, an award of reasonable attorney’s fees and costs
10     pursuant to Cal. Civ. Code §1788.30(c).
11 d. As to the Second Cause of Action, $500 in statutory damages for each and every

12     one of Defendant’s negligent violations of 47 U.S.C. §227(b)(1), pursuant to 47
13     U.S.C. § 227(b)(3)(B).
14 e. As to the Second Cause of Action, injunctive relief prohibiting such conduct in the

15     future pursuant to 47 U.S.C. § 227(b)(3)(A);
16 f. As to the Third Cause of Action, $1,500.00 in statutory damages for each and

17     every one of Defendant’s over one-hundred (100) knowing and/or willful
18     violations of 47 U.S.C. § 227(b)(1), pursuant to 47 U.S.C. § 227(b)(3)(C).
19 g. For such other and further relief as the Court may deem just and proper.

20

21

22 Dated: May 6, 2022                       By:     BLC Law Center, APC
23                                                  s/ Ahren A. Tiller
                                                    Ahren A. Tiller, Esq.
24                                                  Attorney for Plaintiff
                                                    JORDAN MOI
25                                                  Email: ahren.tiller@blc-sd.com
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 1                               DEMAND FOR JURY TRIAL
 2
             Pursuant to the Seventh Amendment to the Constitution of the United States of
 3
     America, Plaintiff is entitled to, and demands a trial by jury on all issues triable by a
 4
     jury.
 5

 6

 7
     Dated: May 6, 2022                       By:     BLC Law Center, APC
 8
                                                      s/ Ahren A. Tiller
 9                                                    Ahren A. Tiller, Esq.
                                                      Attorney for Plaintiff
10                                                    JORDAN MOI
                                                      Email: ahren.tiller@blc-sd.com
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